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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO


   Civil Action No. 11-cv-01611-MSK-CBS

   WESTERN CONVENIENCE STORES, INC., a Colorado corporation;
   WESTERN TRUCK ONE, LLC, a Colorado limited liability company,

          Plaintiffs and Counterclaim Defendant,

   vs.

   SUNCOR ENERGY (U.S.A.) INC., a Delaware corporation,

          Defendant, Counterclaimant, Third-Party Plaintiff,

   HOSSEIN and DEBRA LYNN TARAGHI,

          Third-Party Defendants.

      NOTICE OF UNRESTRICTED FILING OF SUNCOR’S REPLY TO PLAINTIFFS’
     RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT ON FIRST
      AND SIXTH CLAIMS FOR RELIEF AND THIRD AFFIRMATIVE DEFENSE AND
                     EXHIBITS THERETO (DOC. 219, ET. SEQ.)

          Pursuant to the Court’s oral orders of October 30, 2013, Defendant Suncor Energy

   (U.S.A.) Inc. (“Suncor”), by and through its undersigned counsel, submits for public access

   unrestricted and, where appropriate, redacted versions of Suncor’s Reply to Plaintiffs’ Response

   to Defendant’s Motion for Summary Judgment on First and Sixth Claims for Relief and Third

   Affirmative Defense and the exhibits thereto (originally filed at Doc. 219, et. seq.) previously

   filed with the Court as restricted. The resubmitted documents are submitted concurrently

   herewith as attachments.




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   Dated: November 20, 2013

                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
          I hereby certify that on November 20, 2013, I served the foregoing NOTICE OF
   UNRESTRICTED FILING OF SUNCOR’S REPLY TO PLAINTIFFS’ RESPONSE TO
   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT ON FIRST AND SIXTH CLAIMS
   FOR RELIEF AND THIRD AFFIRMATIVE DEFENSE AND EXHIBITS THERETO, by
   causing the foregoing to be presented to the Clerk of Court for filing and uploading to the
   CM/ECF system which will send notification of such filing to the following email addresses:


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